           Case 1:21-cr-00649-JDB Document 40 Filed 02/09/23 Page 1 of 1




        UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA

United States of America                       )
                                               )
   v.                                          )       USDC No. 21-cr-649 (JDB)
                                               )
Michael Dickinson,         defendant.          )

                                        NOTICE OF EXHIBIT



         THE COURT WILL PLEASE NOTE filing of the attached Exhibit (8 pages, not

including face sheet), consisting of five (5) letters, prepared in allocution for the defendant at

sentencing, by David Bohannon; Matthew Black; Elizabeth M. Gehlot; Joanne Aungst, and

Joanne Houck, to supplement defendant’s sentencing memorandum (ECF Doc. 38).

         This notice is,

                                               Respectfully submitted,

                                                   Nathan I. Silver

                                               NATHAN I. SILVER, ESQ.
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                                        CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a copy of this Notice has been served upon Barry Kent
Disney, Esq., United States Dept. of Justice (CRM), attorney of record for the United States, via
ECF this 9th day of February, 2023.

                                               __Nathan I. Silver_____
                                               Nathan I. Silver
